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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                  NO. 4:13CR00068-01 JLH

KENNETH EUGENE BROWN, II                                                         DEFENDANT

                                           ORDER

       At the conclusion of the scheduled change of plea hearing in this matter on Thursday,

February 20, 2014, the Assistant United States Attorney moved to dismiss the original indictment

as to Kenneth Eugene Brown, II. Without objection, the motion was granted. The original

indictment is hereby dismissed as to Kenneth Eugene Brown, II, only.

       IT IS SO ORDERED this 20th day of February, 2014.




                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
